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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division

ePLUS INC.,                                  )
                                             )
       Plaintiff,                            )
                                             )
       v.                                    )   Case No. 3:09CV620 (REP)
                                             )
LAWSON SOFTWARE, INC.,                       )
                                             )
                                             )
       Defendant.                            )


      NOTICE OF DEFENDANTS’ MOTION TO SEAL HEARING TRANSCRIPT

       This serves as notice to the public that Defendant Lawson Software, Inc. has moved the

Court to seal from public disclosure the following pages and lines of the transcript of the hearing

before the Court in this matter on October 24, 2012: 23:15-23:23; 23:25-24:3; 24:22-25:9; 69:20-

70:2; 107:21-107:23; 108:2-108:6; 108:8-108:18; 117:18-117:21; 117:23-118:1; 126:25-127:1;

127:18-127:20; and 127:22-127:23.

       Objections to this motion should be filed in the Civil Section of the Clerk’s Office of this

Court. This Notice will be posted for a minimum of 48 hours.



                                                     __________________________________
                                                      Senior United States District Court Judge
